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                                                         261740
                                 Montgomery
                                 218 Commerce Street
                                 P.O. Box 4160
                                 Montgomery, AL 36103-4160

                                 Atlanta
                                 4200 Northside Parkway
                                 Building One, Suite 100
                                 Atlanta, GA 30327

                                 (800) 898-2034
                                 BeasleyAllen.com


  P. Leigh O’Dell                                                                     Michelle A. Parfitt
  leigh.odell@beasleyallen.com                                                        mparfitt@ashcraftlaw.com



                                                    September 24, 2024

  VIA ECF

  Honorable Michael A. Shipp, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       In re: Johnson & Johnson Talcum Powder Products, Marketing,
                      Sales Practices, and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         Please be advised that on September 20, 2024, Red River Talc LLC, a
  subsidiary of Johnson & Johnson, filed a Chapter 11 bankruptcy petition in the
  Bankruptcy Court for the Southern District of Texas. The matter is before Judge
  Christopher Lopez. First day hearings were conducted on September 23, 2024, at
  which time the court entered an administrative stay of proceedings through October
  11, 2024.

         This order prohibits the parties from complying with deadlines for all matters
  scheduled between now and October 11th, including today’s deadline addressing a
  single Bellwether case for trial selection.
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                                     261741
                                                             Hon. Michael A. Shipp, U.S.D.J.
                                                           Hon. Rukhsanah L. Singh, U.S.M.J.
                                                                        September 24, 2024
                                                                                 Page 2 of 2


                               Respectfully submitted,

                    s/ P. Leigh O'Dell       s/ Michelle A. Parfitt
                    P. Leigh O'Dell          Michelle A. Parfitt

                             Plaintiffs’ Co-Lead Counsel

  cc:   Susan Sharko, Esq. (via email)
        All Counsel (via ECF)
